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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


Valtrus Innovations Ltd.               §
                                       §
                                       §
                 Plaintiff             §
                                       §
       v.                              § CIVIL ACTION NO. 2:23cv444
                                       §
                                       §
T-Mobile USA, Inc.; T-Mobile US, Inc.; §    JURY TRIAL DEMANDED
Sprint Corp; OnePlus Technology        §
(Shenzen) Co., Ltd. and OnePlus Mobile
Communications (Guangdong) Co., Ltd.


                 Defendants.


                      CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Valtrus Innovations

Ltd. is a wholly-owned subsidiary of Key Patent Innovations Limited and no publicly held

company owns 10% or more of its stock.

                                           Respectfully submitted,

                                           /s/ Matthew G. Berkowitz by permission Claire
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

deemed to have consented to electronic service on this 27 day of September, 2023.



                                                   /s/ Claire Henry
                                                   Claire Henry
